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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 AMERITAS LIFE INSURANCE CORP.,                         :
                                                        :
                 Plaintiff,                             :
                                                        :
        v.                                              : C.A. No. 1:23-cv-00236(GBW)
                                                        :
 WILMINGTON SAVINGS FUND SOCIETY,                       : JURY TRIAL DEMANDED
 FSB, SOLELY AS SECURITIES                              :
 INTERMEDIARY,                                          :
                                                        :
                 Defendant.                             :

 AMERITAS’S MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS FROM
          AND TO COMPEL A RE-DEPOSITION OF BROADRIVER

       Pursuant to the Court’s Order assigning discovery disputes to Special Master Helena

Rychlicki, Esquire (D.I. 95, D.I. 108), and pursuant to the Stipulation and Order Relating to

Procedures For Resolving Discovery Disputes Before Special Master (D.I. 112),

Plaintiff/Counterclaim-Defendant Ameritas Life Insurance Corp., by and through undersigned

counsel, alleges as follows:

       1. Defendant/Counterclaim-Plaintiff Wilmington Savings Fund Society, FSB, as

             securities intermediary (“WSFS”), is litigating this case in a representative capacity

             for its client, BroadRiver, the beneficial owner of the at-issue $3 million life

             insurance policy (the “Policy”). BroadRiver is the real party in interest.

       2. BroadRiver’s unjust enrichment counterclaim seeks restitution of the premiums it

             paid in the event the Policy is declared void ab initio for lack of insurable interest

             under Delaware law. The counterclaim is governed by the fault-based premium return

             test established by the Delaware Supreme Court in Geronta Funding v. Brighthouse

             Life Ins. Co., 284 A.3d 47 (Del. 2022) (“Seck”). Central to that test is what
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         BroadRiver knew or should have known about the Policy’s insurable interest

         problems.

      3. When Ameritas tried to probe BroadRiver’s insurable interest knowledge,

         investigation, and analysis, BroadRiver asserted attorney-client privilege over these

         subjects, withholding its documents, and instructing its 30(b)(6) witness not to answer

         questions in this regard.

      4. BroadRiver’s decision to counterclaim for a premium refund under Seck, as well as its

         allegations that it “had no reason to know or suspect the Policy would be found

         invalid,” have placed directly “at-issue” BroadRiver’s insurable interest-related

         diligence, knowledge, and analysis. BroadRiver has, therefore, waived privilege over

         these communications. It is fundamentally unfair for BroadRiver to plead a Seck

         counterclaim, allege it innocently thought the Policy had insurable interest, and then

         refuse to allow BroadRiver to fully probe BroadRiver’s knowledge and BroadRiver’s

         allegations.

      5. Ameritas therefore seeks an order compelling BroadRiver to:

             a. Produce all documents reflecting any insurable interest analysis or factual

                 diligence. Without limitation of the foregoing, BroadRiver must produce all

                 documents reflecting:

                        i. What BroadRiver knew or should have known about the Policy’s

                          origination facts;

                     ii. BroadRiver’s insurable interest analysis related to the Policy;

                     iii. What BroadRiver knew or should have known about how Ocean

                          Gate’s program operated;




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                     iv. BroadRiver’s insurable interest analyses related to the Ocean Gate

                         program (or to policies procured through comparable “Beneficial

                         Interest” or “BI” programs);

                      v. Whether BroadRiver applied a discount to any offer or purchase price

                         to obtain the Policy based on insurable interest concerns (and if so, the

                         extent of that discount); and

                     vi. Reports, spreadsheets, memoranda, etc. concerning BroadRiver’s

                         business decision to acquire the Policy.

                    vii. ArentFox’s Memorandum (dated August 8, 2018) [PRIV 115], which

                         BroadRiver admitted included an analysis of the Ocean Gate program,

                         and which BroadRiver admitted it relied upon in buying the Policy in

                         2020.

                    viii. All emails relating to the Ocean Gate program on BroadRiver’s

                         privilege log. [PRIV 001-007; PRIV 009; PRIV 011; PRIV 013-014;

                         PRIV 016; PRIV 018; PRIV 023-040; PRIV 042; PRIV 068-69; PRIV

                         079; PRIV 092].

                     ix. All documents relating to the “list of policies, including Flaks,”

                         created a year after BroadRiver purchased the Flaks Policy. 1




1
 This Motion does not seek the production of any insurable interest analysis that may have been
conducted after the outset of this litigation.


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DATED: June 10, 2024               COZEN O’CONNOR

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